Case 1:20-cv-00458-PLM-PJG ECF No. 52 filed 06/22/20 PageID.1180 Page 1 of 3




                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                   100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt                POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
       Clerk                          CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                                    Filed: June 22, 2020


Mr. Scott M. Erskine
The Erskine Law Group
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Rochester, MI 48307

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Office of the Attorney General
525 W. Ottawa Street
Second Floor
Lansing, MI 48909

                     Re: Case No. 20-1581, League of Independent Fitness, et al v. Gretchen Whitmer, et al
                         Originating Case No. : 1:20-cv-00458

Dear Counsel,

   This appeal has been docketed as case number 20-1581 with the caption that is enclosed on a
separate page. The appellate case number and caption must appear on all filings submitted to the
Court. If the filing fee was not paid when the notice of appeal was filed, it must be paid to the
district court immediately.

   Before preparing any documents to be filed, counsel are strongly encouraged to read the Sixth
Circuit Rules at www.ca6.uscourts.gov. If you have not established a PACER account and
registered with this court as an ECF filer, you should do so immediately. Your password for
district court filings will not work in the appellate ECF system.

    At this stage of the appeal, the following forms should be downloaded from the web site and
filed with the Clerk's Office by July 6, 2020. Additionally, the transcript order must be
completed by that date. For further information and instructions on ordering transcript
electronically, please visit the court's website.

                                    Appearance of Counsel
                     Appellant:     Civil Appeal Statement of Parties & Issues
                                    Disclosure of Corporate Affiliations
                                    Application for Admission to 6th Circuit Bar (if applicable)
Case 1:20-cv-00458-PLM-PJG ECF No. 52 filed 06/22/20 PageID.1181 Page 2 of 3




                                 Appearance of Counsel
                   Appellee:     Disclosure of Corporate Affiliations
                                 Application for Admission to 6th Circuit Bar (if applicable)

    More specific instructions are printed on each form. If appellant's initial forms are not timely
filed or necessary fees paid, the appeal will be dismissed for want of prosecution. If you have
questions after reviewing the forms and the rules, please contact the Clerk's Office for assistance.

                                                  Sincerely yours,

                                                  s/Karen S. Fultz
                                                  Case Manager
                                                  Direct Dial No. 513-564-7036


Enclosure
Case 1:20-cv-00458-PLM-PJG ECF No. 52 filed 06/22/20 PageID.1182 Page 3 of 3



             OFFICIAL COURT OF APPEALS CAPTION FOR 20-1581




LEAGUE OF INDEPENDENT FITNESS FACILITIES AND TRAINERS, INC.; BASELINE
FITNESS, LLC; BUILDING YOUR TEMPLE, LLC; BYTFITNESS 247, LLC; H3 FITNESS,
LLC; JKP FITNESS, LLC; JPF ENTERPRISES, LLC; NASCOT ENTERPRISES, LLC; 24/7
BOOTCAMP AND BOXING, INC.; FENTON ATHLETIC CLUB, INC.; 4 SEASONS GYM,
LLC; MH & AB, LLC; FENTON KARATE, LLC; RMP FITNESS, INC.; FUSION FITNESS
24/7, LLC; D-LUX KARATE UNIVERSITY, LLC; PRISON CITY PHYSIQUE, LLC;
MOTOR CITY CF ST. CLAIR SHORES, LLC; CLAWSON FITNESS, LLC; STRENGTH
BEYOND, LLC; M FITNESS CLUB, LLC; CLINTON FITNESS, INC.; I FITNESS
PERSONAL TRAINING, INC.

          Plaintiffs - Appellees

v.

GOVERNOR GRETCHEN WHITMER; ROBERT GORDON

          Defendants - Appellants
